                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )
                                                 )
      v.                                         )       Criminal Action No.
                                                 )       10-00351-01-CR-W-GAF
DARRIN L. POTTER,                                )
                                                 )
                   Defendant.                    )

                                ACCEPTANCE OF PLEA OF GUILTY
                                 AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen, to which no objection has been filed, the plea of guilty is now accepted. Defendant is

adjudged guilty of such offense. Sentencing will be set by subsequent order of the court.

                                                      s/ Gary A. Fenner
                                                      Gary A. Fenner, Judge
                                                      United States District Court

DATED: January 19, 2012




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